

Matter of Romulus v Romulus (2018 NY Slip Op 05738)





Matter of Romulus v Romulus


2018 NY Slip Op 05738


Decided on August 9, 2018


Appellate Division, First Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 9, 2018
SUPREME COURT, APPELLATE DIVISION
First Judicial Department

Hon. Barbara R. Kapnick, 	Justice Presiding,
 Marcy L. Kahn
 Ellen Gesmer
 Cynthia S. Kern
 Peter H. Moulton,	Justices.


M-2339

[*1]In the Matter of Nytaino Romulus, a suspended attorney: Attorney Grievance Committee for the First Judicial Department, Petitioner,
v Nytaino Romulus (OCA Atty. Reg. No. 4551453), Respondent.



Disciplinary proceedings instituted by the Attorney Grievance Committee for the First Judicial Department. Respondent, Nytaino Romulus, was admitted to the Bar of the State of New York at a Term of the Appellate Division of the Supreme Court for the Second Judicial Department on January 16, 2008.



Jorge Dopico, Chief Attorney, Attorney Grievance Committee, New York (Si Aydiner, of counsel), for petitioner.
Respondent pro se.



Per Curiam


Respondent Nytaino Romulus was admitted to the practice of law in the State of New York by the Second Judicial Department on January 16, 2008. At all relevant times to these proceedings, respondent has maintained an office for the practice of law within the First Judicial Department.
In June 2017, the Attorney Grievance Committee (the Committee) moved for respondent's immediate suspension from the practice of law, pursuant to the Rules for Attorney Disciplinary Matters (22 NYCRR) 1240.9(a)(1) and (3), based upon his failure to respond to the Committee's numerous letters and voice messages and his failure to appear for an examination under oath pursuant to a judicial subpoena. Respondent did not appear in opposition to the Committee's motion. Accordingly, by order entered October 26, 2017, this Court immediately suspended respondent from the practice of law and until further order of the Court (155 AD3d 14 [1st Dept 2017]). Respondent was served with a copy of the order.
Now, the Committee seeks an order disbarring respondent, pursuant to 22 NYCRR 1240.9(b), on the grounds that he has been suspended pursuant to 22 NYCRR 1240.9(a)(1) and (3) and has neither responded to nor appeared for further investigatory or disciplinary proceedings within six months from the date of the order of suspension. In addition, he has failed to file an affidavit of compliance following his suspension as he was required to do under 22 NYCRR 1240.15(f). Although served with this motion, respondent has not submitted a response.
Accordingly, the Committee's motion for an order disbarring respondent should be granted and his name stricken from the roll of attorneys in the State of New York, effective immediately.
All concur.
Order filed. [August 9, 2018]
The Committee's motion for an order disbarring respondent is granted and his name stricken from the roll of attorneys in the State of New York, effective immediately.








